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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :        Criminal No.
                 v.                            :
                                               :        Case No. 21-mj-173 (ZMF)
WILLIAM MERRY,                                 :
                                               :
                        Defendant.             :

                                 STATEMENT OF OFFENSE

       Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and

through its attorney, the United States Attorney for the District of Columbia, and the defendant,

William MERRY, with the concurrence of his attorney, agree and stipulate to the below factual

basis for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties

stipulate that the United States could prove the below facts beyond a reasonable doubt:

                         The Attack at the U.S. Capitol on January 6, 2021

       1.        The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       2.        On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.

       3.        On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count


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of the Electoral College of the 2020 Presidential Election, which had taken place on November

3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by

approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a

particular objection. Vice President Mike Pence was present and presiding, first in the joint

session, and then in the Senate chamber.

        4.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capitol. As noted above, temporary and permanent barricades were in place around the exterior

of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the

crowd away from the Capitol building and the proceedings underway inside.

        5.      At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter

or remain in the building and, prior to entering the building, no members of the crowd submitted

to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized

security officials.

        6.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;

however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of law enforcement, as others in the

crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.

Capitol, requiring the expenditure of more than $1.4 million dollars for repairs.



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       7.      Shortly thereafter, at approximately 2:20 p.m., members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all

proceedings of the United States Congress, including the joint session, were effectively

suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances

caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who

had entered the U.S. Capitol without any security screening or weapons check, Congressional

proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,

and the building had been confirmed secured. The proceedings resumed at approximately 8:00

p.m. after the building had been secured. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed.

                  MERRY’s Participation in the January 6, 2021, Capitol Riot

       8.      A few days before the riot at the Capitol, MERRY spoke with his friend, Paul

Westover, about traveling to Washington, D.C. to hear President Trump speak at the “Stop the

Steal” rally on January 6, 2021. MERRY invited his niece, Emily Hernandez, to travel with

them, and she agreed.

       9.      On January 5, 2021, MERRY drove to the Washington, D.C. area from St. Louis,

Missouri, with Hernandez and Westover to attend the rally. At the time he traveled, MERRY

was aware that the Electoral College votes would be counted the next day at the U.S. Capitol.

       10.     On January 6, 2021, at approximately 10:30 a.m., MERRY, Hernandez, and

Westover (hereinafter, the “trio”) met Person 1 at a metro station and traveled to a political rally

in D.C. The trio ultimately walked with the crowd from the rally towards the Capitol building,

getting separated from Person 1 sometime before the trio entered the Capitol.



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       11.      Upon arriving on Capitol grounds, MERRY heard someone in the crowd say

something to the effect of “there’s a group of Proud Boys” and witnessed a group of men, some

in military garb, walking together approximately eight or nine abreast and seven to eight

individuals deep. MERRY witnessed this group approach a police barricade and begin arguing

with police. He then witnessed members of this group pushing and rocking the barricade back

and forth until it was breached and police retreated.

       12.      MERRY later witnessed a crowd attempting to breach a police barricade set up on

a set of steps outside the Capitol building and guarded by approximately six law enforcement

officers. MERRY was approximately four individuals back from the edge of the barricade, with

Hernandez and Westover at his side. Ultimately, an individual ahead of MERRY forcibly

removed a police barricade, allowing the crowd, including the trio, to breach the police line and

ascend the Capitol steps past the retreating police officers.

       13.      Around this time, MERRY witnessed police arrest a man who climbed a

structure; individuals throwing water bottles at police; and police discharging tear gas, paintballs,

and mace. He also saw, as he entered the Capitol building, that a Capitol building window had

been smashed.

       14.      At approximately 2:20 p.m., the trio entered the Senate Wing door to the Capitol

while holding up their cell phones and recording videos. A few minutes later, the trio entered the

Crypt area of the Capitol, along with dozens of others in the crowd.

       15.      The trio eventually made their way to a circular area within the House Speaker’s

Suite. This area was marked with a sign posted above a curved entryway stating “Speaker of the

House Nancy Pelosi.” MERRY witnessed an individual tear this sign down from the wall as

well as another individual with a black jacket and khaki pants smash the sign against a wall.



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MERRY then told Hernandez, as she moved towards the now-broken sign, to “get you a piece,”

which she did, by picking up a shard of the broken sign. MERRY and Hernandez then held the

shard above their heads to show to a person recording a video. While doing so, MERRY stated

“here you go, brother.” Visible on the shard were the words “The House” and “Nancy.”

       16.     At approximately 2:36 p.m. the trio entered the Rotunda of the Capitol and

continued to take photographs and videos. While in the Rotunda, MERRY picked up an old

telephone on a desk and pretended to call “Nancy”—i.e., Speaker Pelosi. At some point around

this time, MERRY noticed tear gas being deployed.

       17.     The trio ultimately exited the Capitol through a broken window in the Senate

Wing hallway at approximately 2:55 p.m.

       18.     After the trio exited the Capitol building but while still on Capitol grounds,

MERRY told Hernandez to hold up the shard of the broken Speaker’s sign for the crowd to see.

She followed his instruction, and MERRY also displayed the shard later on for the crowd.

MERRY also witnessed Hernandez carrying several items she took from the Capitol building and

Capitol grounds, including a large red “Keep Off Fence” sign. MERRY later saw

HERNANDEZ with a smaller “Please Do Not Touch” sign after they had left the Capitol.

       19.     While still on Capitol grounds, Hernandez participated in a video-recorded

interview with Person 2, an apparent blogger. In the video, Person 2 stated: “you want to know

how to defend your country? You storm in there and you take your country back. I’m here with

the heroes who actually stormed [unintelligible] and we are actually going to take our country

back.” After Person 2 then stated, “you guys want proof? I can show you proof,” Hernandez




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displayed the shard of Speaker Pelosi’s sign and the “Keep Off Fence” sign, while smiling.

MERRY and Westover can also be seen in the video.

       20.     On January 26, 2021, Hernandez voluntarily surrendered to the FBI various items

taken from the Capitol building and Capitol grounds, including the shard from Speaker Pelosi’s

sign, the red “Keep Off Fence” sign, a fire extinguisher pin and tag, the “Please Do Not Touch”

sign, a “Save America March” pass, and the knit hat she wore inside the Capitol.

       21.     The defendant knew at the time he entered the U.S. Capitol Building that he was

trespassing and did not have permission or lawful authority to enter the building. At the time he

entered, the U.S. Capitol was a restricted building where the Vice President was temporarily

visiting. The defendant unlawfully and knowingly entered and remained in a restricted building

without lawful authority to do so.

       22.     The defendant further agrees that the fragment of Speaker Pelosi’s sign would

have an independent market value of at least $50.



                                                    Respectfully submitted,


                                                    MATTHEW GRAVES
                                                    United States Attorney
                                                    D.C. Bar No. 481052


                                             By:    ________________________________

                                                    Jessica Arco
                                                    Trial Attorney – Detailee




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